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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

______________________________
SUSAN FAULLS                                )
                                            )       Case Number: 09-1463
               Plaintiff                    )
                                            )       CIVIL COMPLAINT
                 vs.                        )
                                            )
ALLIANCEONE RECEIVABLES                     )
MANAGEMENT, INC.                            )       JURY TRIAL DEMANDED
                                            )
                                            )
               Defendant                    )


                           STIPULATION OF DISMISSAL

       AND NOW, this 2nd day of July, 2009, it is hereby Stipulated and Agreed by and

between counsel for plaintiff and counsel for defendant in the above captioned matter that

the above captioned matter be dismissed with prejudice.



                                     Warren & Vullings, LLP


                               BY:__/s/ Brent F. Vullings
                                   Brent F. Vullings, Esquire
                                   Attorney for Plaintiff



                                     Marshall Dennehey Warner Coleman & Goggin


                               BY:__/s/ Andrew M. Schwartz
                                   Andrew M. Schwartz, Esquire
                                   Attorney for Defendant
